B1 (Official Form 1) (04/13)
               Case:15-30042-SDB
                          UNITED STATESDoc#:1
                                       BANKRUPTCYFiled:02/16/15
                                                  COURT         Entered:02/16/15 08:59:02                                                       Page:1 of 51
                                                                                                                                    VOLUNTARY PETITION
                              SOUTHERN DISTRICT OF GEORGIA
                                 __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
Clements, Peggy S.
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 8714                                                          (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
861 Robertson Church Road
Dublin, Georgia
                                                         ZIP CODE                   31021                                                        ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
LAURENS
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                   ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                       X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                             Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                          Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                   (Check one box.)
                                                                                                                      X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                   Filing Fee (Check one box.)                                                                Chapter 11 Debtors
                                                                                              Check one box:
  X     Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-         25,001-           50,001-          Over
                                                            5,000          10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
 Estimated Liabilities
                                                X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
B1 (Official Form 1) (04/13)
              Case:15-30042-SDB Doc#:1 Filed:02/16/15 Name
 Voluntary Petition                                                                     Entered:02/16/15
                                                                                             of Debtor(s): Clements, 08:59:02
                                                                                                                         Peggy S. Page:2                         of 51
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                              Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                              Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                              Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X   s/Angela McElroy-Magruder February 16, 2015
                                                                                                    Signature of Attorney for Debtor(s)       (Date)
                                                                                                    Bar No.: 113625

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  X    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1) (04/13)                                                                                                                                                 Page 3
              Case:15-30042-SDB Doc#:1
 Voluntary Petition                                                 Filed:02/16/15 Name
                                                                                     Entered:02/16/15        08:59:02
                                                                                        of Debtor(s): Clements, Peggy S.                          Page:3 of 51
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Peggy S. Clements                                                                    X
      Signature of Debtor                 Peggy S. Clements                                       (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      February 16, 2015                                                                           Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s/Angela McElroy-Magruder                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Angela McElroy-Magruder                                                                provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Claeys, McElroy-Magruder & Kitchens                                                    guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      512 Telfair Street                                                                     or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Augusta, Georgia 30901                                                                 attached.
      Address
      (706) 724-6000
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      February 16, 2015
      Date
      Bar No.: 113625                                                                             Social-Security number (If the bankruptcy petition preparer is not an individual,
      Fax: (706) 724-3363                                                                         state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
      E-mail: mcelroymagruder@aol.com
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
    Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B6A (Official Form 6A) (12/07)
                                                                                                                                            Page:4 of 51

In re Peggy S. Clements,                                                                                           Case No.
                                                          Debtor                                                                           (If known)


                                            SCHEDULE A - REAL PROPERTY
     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property
owned as a cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and
powers exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no
interest in real property, write “None” under “Description and Location of Property.”

    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

     If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C
– Property Claimed as Exempt.




                                                                                                   Husband, Wife, Joint,
                                                                                                                             CURRENT VALUE




                                                                                                      or Community
                                                                                                                               OF DEBTOR’S
                    DESCRIPTION AND                                                                                            INTEREST IN       AMOUNT OF
                                                                     NATURE OF DEBTOR’S
                      LOCATION OF                                                                                          PROPERTY, WITHOUT      SECURED
                                                                    INTEREST IN PROPERTY
                       PROPERTY                                                                                              DEDUCTING ANY         CLAIM
                                                                                                                             SECURED CLAIM
                                                                                                                              OR EXEMPTION


 Secondary Residence - Single Family Home

 home and lot located at 115 Ovid Drive, Dublin, Georgia
 (tax value: $185,658; FMV: $140,000 - 2 houses for sale
 on block listed for $180,000. New homes been for sale             FeeSimpleOwner                                                 $140,000.00           $363,683.00
 forever. Debtor's home build in 1980s. Needs hot water
 heater. No repairs since 1980s other than heating & air
 unit. Pool repair will cost $10,000; cracks in the walls.) to
 be surrendered


                                                                                                 Total ►                           $140,000.00


                                                                   (Report also on Summary of Schedules.)
     Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6B (Official Form 6B) (12/2007)
                                                                                                                                             Page:5 of 51

In re Peggy S. Clements,                                                                                       Case No.
                                                         Debtor                                                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
             Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

         Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property
is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                 Joint, Or Community
                                                                                                                                         CURRENT VALUE OF




                                                                                                                    Husband, Wife,
                                                 N                                                                                     DEBTOR’S INTEREST IN
                                                 O               DESCRIPTION AND LOCATION                                               PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                 N                     OF PROPERTY                                                        DEDUCTING ANY
                                                 E                                                                                        SECURED CLAIM
                                                                                                                                           OR EXEMPTION


 1. Cash on hand.                                 X

 2. Checking, savings or other financial                 checking account at Atlantic South                                                               $300.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


 3. Security deposits with public utilities,
 telephone companies, landlords, and             X
 others.

 4. Household goods and furnishings,                     misc furniture, appliances & electronics located at                                              $250.00
 including audio, video, and computer                    residence
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                 X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                     misc clothing on person and at residence                                                         $250.00



 7. Furs and jewelry.                                    misc jewelry on person and at residence                                                         $1,045.00



 8. Firearms and sports, photographic,
                                                 X
 and other hobby equipment.

 9. Interests in insurance policies. Name                whole life insurance policy                                                                        $0.00
 insurance company of each policy and                    (no cash value)
 itemize surrender or refund value of each.
     Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6B (Official Form 6B) (12/2007)
                                                                                                                       Page:6 of 51

In re Peggy S. Clements,                                                                Case No.
                                                    Debtor                                                            (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                           Joint, Or Community
                                                                                                                   CURRENT VALUE OF




                                                                                              Husband, Wife,
                                                N                                                                DEBTOR’S INTEREST IN
                                                O          DESCRIPTION AND LOCATION                               PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                OF PROPERTY                                        DEDUCTING ANY
                                                E                                                                   SECURED CLAIM
                                                                                                                     OR EXEMPTION



 10. Annuities. Itemize and name each
                                                X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or             retirement                                                                     $7,000.00
 other pension or profit sharing plans.
 Give particulars.


 13. Stock and interests in incorporated
                                                X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable             X
 instruments.

 16. Accounts receivable.                       X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor       X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than       X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and      X
 rights to setoff claims. Give estimated
 value of each.
     Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6B (Official Form 6B) (12/2007)
                                                                                                                                Page:7 of 51

In re Peggy S. Clements,                                                                         Case No.
                                                   Debtor                                                                      (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)




                                                                                                    Joint, Or Community
                                                                                                                            CURRENT VALUE OF




                                                                                                       Husband, Wife,
                                            N                                                                             DEBTOR’S INTEREST IN
                                            O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                            N                   OF PROPERTY                                                  DEDUCTING ANY
                                            E                                                                                SECURED CLAIM
                                                                                                                              OR EXEMPTION



 22. Patents, copyrights, and other
                                            X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                            X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                            X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and            2013 Ford Edge                                                                           $18,211.00
 other vehicles and accessories.


 26. Boats, motors, and accessories.        X

 27. Aircraft and accessories.              X

 28. Office equipment, furnishings, and
                                            X
 supplies.

 29. Machinery, fixtures, equipment, and
                                            X
 supplies used in business.

 30. Inventory.                             X

 31. Animals.                               X

 32. Crops - growing or harvested. Give
                                            X
 particulars.

 33. Farming equipment and implements.      X

 34. Farm supplies, chemicals, and feed.    X

 35. Other personal property of any kind
                                            X
 not already listed. Itemize.


                                            2 continuation sheets attached         Total ►                                                  $27,056.00
                                                       (Include amounts from any continuation
                                                         sheets attached. Report total also on
                                                               Summary of Schedules.)
    Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B6C (Official Form 6C) (04/13)
                                                                                                                    Page:8 of 51

In re Peggy S. Clements,                                                                      Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 checking account at Atlantic South                               Ga. Code Ann. § 44-13-
                                                                                                         $300.00                   $300.00
                                                                  100(a)(6)


 retirement                                                       Ga. Code Ann. § 44-13-
                                                                                                      $7,000.00                   $7,000.00
                                                                  100(a)(2.1)


 misc furniture, appliances & electronics located at residence    Ga. Code Ann. § 44-13-
                                                                                                         $250.00                   $250.00
                                                                  100(a)(4)


 misc clothing on person and at residence                         Ga. Code Ann. § 44-13-
                                                                                                         $250.00                   $250.00
                                                                  100(a)(4)


 misc jewelry on person and at residence                          Ga. Code Ann. § 44-13-                                          $1,045.00
                                                                  100(a)(5)                              $500.00

                                                                  Ga. Code Ann. § 44-13-                 $545.00
                                                                  100(a)(6)




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
 B 6D (Official Form 6D) (12/07)

          Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                                                                                                                                                                                                        Page:9 of 51
 In re ____________________________________,
       Peggy S. Clements                                                                                                                                                                                                                      Case No. __________________________________
                                Debtor                                                                                                                                                                                                                               (If known)
                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
            List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
 entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
 Joint, or Community.”
            If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
 labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
 these three columns.)
            Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
 labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
 of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                            DATE CLAIM WAS
                                                                                                  HUSBAND, WIFE,




                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                                                    CONTINGENT
                                                                                                   COMMUNITY




                                                                                                                                              INCURRED,
                                                              CODEBTOR




   CREDITOR’S NAME AND
                                                                                                    JOINT, OR




                                                                                                                                                                                                                                                                                  DISPUTED
      MAILING ADDRESS                                                                                                                                                                                                                                                                                                 AMOUNT OF CLAIM
                                                                                                                                            NATURE OF LIEN ,                                                                                                                                                                                                            UNSECURED
  INCLUDING ZIP CODE AND                                                                                                                          AND                                                                                                                                                                     WITHOUT
                                                                                                                                                                                                                                                                                                                      DEDUCTING VALUE                                   PORTION, IF
    AN ACCOUNT NUMBER                                                                                                                         DESCRIPTION
                                                                                                                                                                                                                                                                                                                       OF COLLATERAL                                       ANY
     (See Instructions Above.)                                                                                                               AND VALUE OF
                                                                                                                                               PROPERTY
                                                                                                                                            SUBJECT TO LIEN
 ACCOUNT NO. 0184
Capital City Bank                                                                                                                    Judgment Lien
c/o Rogers Law Offices
The Equitable Building                                                                                                               judgment
100 Peachtree Street, Ste                                                                                                                                                                                                                                                                                                   $260,683.20                                   $260,683.20
1950
Atlanta, GA 30303
                                                                                                                                         VALUE $                   $0.00


ACCOUNT NO. 8714
                                                                         ———————————————————




                                                                                                                   ———————————————————




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CBA                                                                                                                                  Judgment Lien
PO Box 579
Milledgeville, GA 31059                                                                                                              judgment
                                                                                                                                                                                                                                                                                                                              $1,000.00                                     $1,000.00

                                                                                                                              ———————————————————————
                                                                                                                                 VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                                   $0.00



ACCOUNT NO. 8714
                                        ———————————————————



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                                                                                                                                                                                                                                                                                                                                              ———————————————————




—————————————————————————————————
                                                                                                                                         First Mortgage
Chase Mortgage
PO Box 24696                                                                                                                             home and lot located at 115
Columbus, OH 43224                                                                                                                       Ovid Drive, Dublin, Georgia (tax                                                                                                                                                   $363,683.00                                   $223,683.00
                                                                                                                                         value: $185,658; FMV: $140,000 -
                                                                                                                                         See Attachment 1
                                                                                                                                  ———————————————————————
                                                                                                                                    VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                          $140,000.00



 ____
   1 continuation sheets                                                                                                                    Subtotal ►                                                                                                                                                                $      625,366.20 $                                  485,366.20
      attached                                                                                                                              (Total of this page)
                                                                                                                                            Total ►                                                                                                                                                                   $                                             $
                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                                                                         (Report also on Summary of                (If applicable, report also on
                                                                                                                                                                                                                                                                                                         Schedules.)                               Statistical Summary of Certain
                                                                                                                                                                                                                                                                                                                                                   Liabilities and Related Data.)
 B 6D (Official Form 6D) (12/07) – Cont.

         Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                                                                                                                                                                                                                                   Page:10 of 51
 In re ____________________________________,
       Peggy S. Clements                                                                                                                                       Case No. __________________________________
                   Debtor                                                                                                                                                             (if known)

                                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                        (Continuation Sheet)




                                                                                                   HUSBAND, WIFE,




                                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                                                       CONTINGENT
                                                                                                    COMMUNITY
  CREDITOR’S NAME AND                                                                                                                           DATE CLAIM WAS



                                                          CODEBTOR




                                                                                                     JOINT, OR




                                                                                                                                                                                                                                                                                       DISPUTED
     MAILING ADDRESS                                                                                                                           INCURRED, NATURE                                                                                                                                                             AMOUNT OF CLAIM
                                                                                                                                                                                                                                                                                                                                WITHOUT                                       UNSECURED
   INCLUDING ZIP CODE                                                                                                                             OF LIEN , AND
                                                                                                                                                                                                                                                                                                                            DEDUCTING VALUE                                   PORTION, IF
     AND AN ACCOUNT                                                                                                                             DESCRIPTION AND
                                                                                                                                                                                                                                                                                                                             OF COLLATERAL                                       ANY
           NUMBER                                                                                                                             VALUE OF PROPERTY
    (See Instructions Above.)                                                                                                                   SUBJECT TO LIEN
                                                                         ————————————————————




                                                                                                                                                                                                                                                                                                                                               ————————————————————
ACCOUNT NO. 8714




                                                                                                                                                                                                                                                             ———————————————————
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                                ———————————————————




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————————————————————————————

FMC-Omaha Service                                                                                                                    Purchase-Money
Ctr                                                                                                                                  Security Interest
PO Box 54200                                                                                                                                                                                                                                                                                                                      $46,587.00                                    $28,376.00
Omaha, NE 68154                                                                                                                      2013 Ford Edge

                                                                                                                             —————————————————————————

—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                          VALUE $           $18,211.00


ACCOUNT NO. 8714




                                                                                                                                                                                                                                                                 ———————————————————
                                                                                                                                                                                                                        ———————————————————
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                                    ———————————————————




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                                                                                                                                                                                                                                                                                                                                                    ———————————————————
————————————————————————————

Wheeler County State                                                                                                                      security agreement
Bank
PO Box 408                                                                                                                                personal property
                                                                     X                                                                                                                                                                                                                                                             $4,473.00                                     $4,473.00
Alamo, GA 30411

                                                                                                                                  —————————————————————————
                                                                                                                                              VALUE $               $0.00
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————




 Sheet no.______of______continuation
              1        1                                                                                                                                   Subtotal (s)►                                                                                                                                                    $     51,060.00                               $     32,849.00
 sheets attached to Schedule of                                                                                                                    (Total(s) of this page)
 Creditors Holding Secured
 Claims
                                                                                                                                                             Total(s) ►                                                                                                                                                     $    676,426.20                               $    518,215.20
                                                                                                                                                  (Use only on last page)
                                                                                                                                                                                                                                                                                                  (Report also on                             (If applicable, report also on
                                                                                                                                                                                                                                                                                                  Summary of Schedules.)                      Statistical Summary of Certain
                                                                                                                                                                                                                                                                                                                                              Liabilities and Related Data.)
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                  Page:11 of 51



                                       Attachment

 Attachment 1
     2 houses for sale on block listed for $180,000. New homes been for sale forever. Debtor's
     home build in 1980s. Needs hot water heater. No repairs since 1980s other than heating & air
     unit. Pool repair will cost $10,000; cracks in the walls.) to be surrendered
        Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B6E (Official Form 6E) (04/13)
                                                                                                                              Page:12 of 51
         In re
                 Peggy S. Clements                                                      ,               Case No.
                            Debtor                                                                                           (if known)


          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
        Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6E (Official Form 6E) (04/13) – Cont.
                                                                                                                            Page:13 of 51


   In re
           Peggy S. Clements                                                    ,               Case No.
                      Debtor                                                                                        (if known)




    Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            0 continuation sheets attached
                                                           ____
B 6F (Official Form 6F) (12/07)
            Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                                                                                                 Page:14 of 51
      Peggy S. Clements
In re __________________________________________,                                                                               Case No. _________________________________
                        Debtor                                                                                                                       (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                            HUSBAND, WIFE,

                                                                             COMMUNITY




      CREDITOR’S NAME,                                                                                      DATE CLAIM WAS                                                                                                    AMOUNT OF




                                                                                                                                                                        UNLIQUIDATED
                                                                              JOINT, OR




                                                                                                                                               CONTINGENT
                                                     CODEBTOR




       MAILING ADDRESS                                                                                       INCURRED AND                                                                                                       CLAIM




                                                                                                                                                                                                   DISPUTED
     INCLUDING ZIP CODE,                                                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                                                           CLAIM.
          (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                            SETOFF, SO STATE.

ACCOUNT NO.
                                         —————————

                                                                —————————




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                                                                                                                                                                                                              —————————
            3844
————————————————
                                                                                                  medical
MR NEB, LLC                                                                                                                                                                                                                       $140.10
5076 Winters Chapel Road
Atlanta, GA 30360

———————————————————————————————————————————————————

ACCOUNT NO.
                                         —————————

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            2483
————————————————
                                                                                                  medical
Souza Family Health & UCC                                                                                                                                                                                                          $31.24
PO Box 16100
Dublin, GA 31040

———————————————————————————————————————————————————

ACCOUNT NO.
                                         —————————

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            8923
————————————————
                                                                                                  credit card
THD/CBNA                                                                                                                                                                                                                          $455.00
PO Box 6497
Sioux Falls, SD 57117

———————————————————————————————————————————————————


                                                                                                                                                                            Subtotal'                                     $        626.34
    0
  _____continuation sheets attached                                                                                                                Total'                                                                 $        626.34
                                                                                                     (Use only on last page of the completed Schedule F.)
                                                                                 (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                       Summary of Certain Liabilities and Related Data.)
Case:15-30042-SDB               Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
    B 6G (Official Form 6G) (12/07)
                                                                                                                     Page:15 of 51

     In re Peggy S. Clements,                                                       Case No.
                                                     Debtor                                             (if known)

     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any
     timeshare interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is
     the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
     contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and
     address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
     child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

      Check this box if debtor has no executory contracts or unexpired leases.


                                                                       DESCRIPTION OF CONTRACT OR LEASE AND
           NAME AND MAILING ADDRESS,                                    NATURE OF DEBTOR’S INTEREST. STATE
               INCLUDING ZIP CODE,                                     WHETHER LEASE IS FOR NONRESIDENTIAL
     OF OTHER PARTIES TO LEASE OR CONTRACT.                               REAL PROPERTY. STATE CONTRACT
                                                                       NUMBER OF ANY GOVERNMENT CONTRACT.
   Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6H (Official Form 6H) (12/07)
                                                                                                                         Page:16 of 51

In re Peggy S. Clements,                                                               Case No.
                                                         Debtor                                                   (if known)


                                               SCHEDULE H - CODEBTORS
      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
listed by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of
the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR

                                                                          Wheeler County State Bank
Alisha Pickle
                                                                          Account No.: 8714
115 Ovid Drive
                                                                          PO Box 408
Dublin, GA 31021
                                                                          Alamo, GA 30411
         Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                  Page:17 of 51
 Fill in this information to identify your case:


 Debtor 1            Peggy S. Clements
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Southern District of Georgia _
 United States Bankruptcy Court for : ______________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Agent 3
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            Division of Child Support Services
                                                                    __________________________________           __________________________________


                                         Employer’s address         2 Peachtree Street, NW, Ste 27
                                                                   _______________________________________     ________________________________________
                                                                     Number Street                              Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    Atlanta, GA 30303
                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          4 years                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     2,474.46               0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     2,474.46
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
               Case:15-30042-SDB
                  Peggy S. Clements
                                    Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                         Page:18 of 51
    Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                     First Name         Middle Name               Last Name



                                                                                                                             For Debtor 1         For Debtor 2 or
                                                                                                                                                  non-filing spouse

       Copy line 4 here ............................................................................................  4.      2,474.46
                                                                                                                              $___________           0.00
                                                                                                                                                    $_____________

    5. List all payroll deductions:

         5a. Tax, Medicare, and Social Security deductions                                                           5a.      537.82
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         5c. Voluntary contributions for retirement plans                                                            5c.      74.24
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         5e. Insurance                                                                                               5e.      189.47
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________

         5g. Union dues                                                                                              5g.
                                                                                                                              0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________

         5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                            + $____________          0.00
                                                                                                                                                  + $_____________
     6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      801.53
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________

     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      1,672.93
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________


     8. List all other income regularly received:

         8a. Net income from rental property and from operating a business,
             profession, or farm
               Attach a statement for each property and business showing gross
               receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                             $____________          $_____________
               monthly net income.                                                                                   8a.
         8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
               Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                             $____________          $_____________
               settlement, and property settlement.                                                                  8c.
         8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         8e. Social Security                                                                                         8e.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
         8f. Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental                                           $0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
             Nutrition Assistance Program) or housing subsidies.
             Specify: ___________________________________________________ 8f.

         8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________
                                            prorated tax refund
         8h. Other monthly income. Specify: _______________________________                                          8h.       226.67
                                                                                                                            + $____________          0.00
                                                                                                                                                  + $_____________
     9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      226.67
                                                                                                                             $____________           0.00
                                                                                                                                                    $_____________

    10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                              1,899.60
                                                                                                                             $___________     +      0.00
                                                                                                                                                    $_____________    1,899.60
                                                                                                                                                                   = $_____________
        Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

    11. State all other regular contributions to the expenses that you list in Schedule J.
        Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
        other friends or relatives.
        Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
        Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                    11. + $_____________

    12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
        Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                           1,899.60
                                                                                                                                                                          $_____________
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
         
         X
               No.
              Yes. Explain:


    Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
S
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02   Page:19 of 51



                                       Addendum

 Attachment 1: Additional Notes
     Debtor is paid a semi-monthly salary.
           Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                      Page:20 of 51
  Fill in this information to identify your case:

  Debtor 1          Peggy S. Clements
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Southern District of Georgia _
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________                                             expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            X
                                                No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               0.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
            Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                            Page:21 of 51
 Debtor 1        Peggy S. Clements
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     0.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     89.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      275.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     350.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      115.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    0.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    720.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________
                          Wheeler County State Bank
      17c. Other. Specify:_______________________________________________                                     17c.    150.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                 Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                              Page:22 of 51
     Debtor 1        Peggy S. Clements
                     _______________________________________________________                      Case number (if known)_____________________________________
                     First Name    Middle Name        Last Name




    21.                    dog food/vet
           Other. Specify: _________________________________________________                                         21.     100.00
                                                                                                                           +$_____________________

    22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                             1,899.00
                                                                                                                            $_____________________
           The result is your monthly expenses.                                                                      22.




    23. Calculate your monthly net income.
                                                                                                                              1,900.00
                                                                                                                             $_____________________
          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

          23b.   Copy your monthly expenses from line 22 above.                                                     23b.      1,899.00
                                                                                                                           – $_____________________
          23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                              1.00
                                                                                                                             $_____________________
                 The result is your monthly net income.                                                             23c.




    24. Do you expect an increase or decrease in your expenses within the year after you file this form?

          For example, do you expect to finish paying for your car loan within the year or do you expect your
          mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

             No.
             Yes.     Explain here:




     Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
S
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                  Page:23 of 51



                                       Addendum

 Attachment 1: Additional Notes
     Debtor lives with her fiance'. They do not commingle funds. Debtor drives and pays for a
     vehicle that belongs to her fiance.
         Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6 Summary (Official Form 6 - Summary) (12/14)
                                                                                                                          Page:24 of 51


                                    UNITED STATES BANKRUPTCY COURT
                                                    ____________________________
                                                       SOUTHERN DISTRICT OF GEORGIA



      Peggy S. Clements
In re ___________________________________,                                                Case No. ___________________
                 Debtor
                                                                                                  7
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property
                                                    YES                  1            $    140,000.00

 B - Personal Property
                                                    YES                  3
                                                                                      $      27,056.00

 C - Property Claimed
     as Exempt                                      YES                  1

 D - Creditors Holding
                                                    YES                  3                                  $       676,426.20
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims                                YES                  2
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $             626.34
     Nonpriority Claims                             YES                  1

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1

 I - Current Income of
                                                    YES                  3
                                                                                                                                    $        1,899.60
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  4                                                          $        1,899.00
     Debtors(s)

                                          TOTAL                                       $    167,056.00 $             677,052.54
                                                                         20
        Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 6 Summary (Official Form 6 - Summary) (12/14)
                                                                                                                        Page:25 of 51

                                  UNITED STATES BANKRUPTCY COURT
                                              _________________________________
                                                 SOUTHERN DISTRICT OF GEORGIA




      Peggy S. Clements
In re ___________________________________,                                              Case No. ___________________
                 Debtor
                                                                                                7
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00
 Domestic Support, Separation Agreement, and Divorce Decree           $            0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $            0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $       1,899.60
 Average Expenses (from Schedule J, Line 22)                          $       1,899.00
 Current Monthly Income (from Form 22A-1 Line 11; OR, Form            $       2,701.13
 22B Line 14; OR, Form 22C-1 Line 14)

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $      518,215.20
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $            0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $           626.34

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $      518,841.54
B6 Declaration (Official Form 6 - Declaration) (12/07)
           Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                                                              Page:26 of 51
      In re
              Peggy S. Clements
              _________________________________________                                                                  ,                Case No. ______________________________
                           Debtor                                                                                                                              (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            22 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     February 16, 2015
Date __________________________________                                                                                        s/Peggy S. Clements
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                 Peggy S. Clements Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
    Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                                         Page:27 of 51



                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF GEORGIA

In re Peggy S. Clements                                                 Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
    Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02
B 1D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                            Page:28 of 51


         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: s/Peggy S. Clements

Date: February 16, 2015




                                                        2
Case:15-30042-SDB
 B 7 (Official Form 7) (04/13)
                               Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                       Page:29 of 51



                      UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF GEORGIA


 In re: Peggy S. Clements                                              Case No
                              Debtor                                                                (if known)



                                       STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
 the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
 information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
 filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
 provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
 indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
 or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
 Fed. R. Bankr. P. 1007(m).

           Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
 must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
 additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
 case number (if known), and the number of the question.

                                                            DEFINITIONS

            "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
 individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
 the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
 the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
 employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
 in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

 "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their
 relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
 control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
 debtor. 11 U.S.C. § 101.

        1. Income from employment or operation of business
 None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
           beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
           two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
           the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
           of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
           under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)

                        AMOUNT                                             SOURCE

           Debtor:
                     Current Year (2015):
                     $3,711.69                                            wages (est YTD)


                     Previous Year 1 (2014):
                     $29,140.03                                           wages
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                    Page:30 of 51
                                                                                                                              2



                    Previous Year 2 (2013):
                    $25,406.00                                           wages

          Joint Debtor:
                    N/A


          2. Income other than from employment or operation of business

 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the
         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

                          AMOUNT                                             SOURCE




          3. Payments to creditors

          Complete a. or b., as appropriate, and c.

 None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
         goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                     PAYMENTS               PAID                    STILL OWING


          Debtor:
          FMC-Omaha Service Ctr                                      regular installments $2,160.00                 $46,587.00
          PO Box 54200
          Omaha, Nebraska 68154


 None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
         within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
          any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
          filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
          not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                      PAYMENTS/              PAID OR                STILL
                                                                      TRANSFERS              VALUE OF               OWING
                                                                                             TRANSFERS



 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
 of adjustment.
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                Page:31 of 51
                                                                                                                          3



 None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
        include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
        a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                                 DATE OF             AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                                   PAYMENT             PAID                  STILL OWING




        4. Suits and administrative proceedings, executions, garnishments and attachments

 None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
       preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)separated and a joint petition is not filed.)

        CAPTION OF SUIT                             NATURE OF                  COURT OR                  STATUS OR
        AND CASE NUMBER                             PROCEEDING                 AGENCY AND                DISPOSITION
                                                                               LOCATION

        Debtor:
        CBA v. Peggy Clements                      suit on account             Laurens County           judgment
        Case Number: MC200                                                     Dublin, Georgia

        Scott Wagener v. Peggy Clements            suit on account             Laurens County           judgment
        Case Number: 20111253                                                  Dublin, Georgia

        Capital City Bank v. Peggy Clements        suit on account             State Court              judgment
        Case Number: 2012-CG-0184                                              Fulton County


 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                                                                 DESCRIPTION
        OF PERSON FOR WHOSE                                          DATE OF             AND VALUE
        BENEFIT PROPERTY WAS SEIZED                                  SEIZURE             OF PROPERTY

        Debtor:
        Capital City Bank                                        01/27/2015             garnishment of payroll
        c/o Rogers Law Firm; 100 Peachtree Street, Ste 1950                             Value: $0.00
        Atlanta, Georgia 30303



        5. Repossessions, foreclosures and returns

 None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
       of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                    DESCRIPTION
        NAME AND ADDRESS                          FORECLOSURE SALE,                        AND VALUE
        OF CREDITOR OR SELLER                     TRANSFER OR RETURN                       OF PROPERTY
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                 Page:32 of 51
                                                                                                                           4



        Debtor:
        Capital City Bank                         2013 - 24 acres located at Robertson      judgment
        c/o Rogers Law Offices                    Church Road, Dublin (FMV:                 Value: $40,000.00
        The Equitable Building                    $40,000) Bank sold for $41,000
        100 Peachtree Street, Ste 1950
        Atlanta, Georgia 30303



        6. Assignments and receiverships

 None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                           TERMS OF
        NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
        OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




 None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                           NAME AND LOCATION                                      DESCRIPTION
        NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
        OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




        7. Gifts

 None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
        OF PERSON                          TO DEBTOR,                          DATE               AND VALUE
        OR ORGANIZATION                    IF ANY                              OF GIFT            OF GIFT




        8. Losses

 None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                Page:33 of 51
                                                                                                                          5

        AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
        PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




        9. Payments related to debt counseling or bankruptcy

 None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
        within one year immediately preceding the commencement of this case.

                                                 DATE OF PAYMENT,                          AMOUNT OF MONEY OR
        NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
        OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

        Debtor:
        Abacus Credit Counseling                                                           $25.00 for pre-petition credit
        online                                                                             counseling




        10. Other transfers

 None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
       the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                               DESCRIBE PROPERTY
        NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
        RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




 None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
       to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                           DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
        NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
        DEVICE                                                                  INTEREST IN PROPERTY




        11. Closed financial accounts

 None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
       closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
        checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
        held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
        instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)

                                                                   TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
        NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                               Page:34 of 51
                                                                                                                         6

        OF INSTITUTION                                             AND AMOUNT OF FINAL                         OR CLOSING
                                                                   BALANCE




        12. Safe deposit boxes

 None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
        chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
        OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
        OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                           IF ANY




        13. Setoffs

 None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                               DATE OF                       AMOUNT
        NAME AND ADDRESS OF CREDITOR                                           SETOFF                        OF SETOFF




        14. Property held for another person


 None   List all property owned by another person that the debtor holds or controls.
 

        NAME AND ADDRESS                           DESCRIPTION AND
        OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY




        15. Prior address of debtor

 None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
       which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.

        ADDRESS                                      NAME USED                               DATES OF OCCUPANCY
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                Page:35 of 51
                                                                                                                          7

        16. Spouses and Former Spouses

 None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
        immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
        any former spouse who resides or resided with the debtor in the community property state.

        NAME




        17. Environmental Information.

        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
        releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
        other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
        or material.

        Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
        formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, or contaminant or similar term under an Environmental Law.

 None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
        governmental unit, the date of the notice, and, if known, the Environmental Law:

        SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
        AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




 None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

        SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
        AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




 None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
        party to the proceeding, and the docket number.

        NAME AND ADDRESS                                                                              STATUS OR
        OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                  DISPOSITION




        18 . Nature, location and name of business

 None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                        Page:36 of 51
                                                                                                                                  8

          and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
           executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
           other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
           which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
           the commencement of this case.

                 If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities, within six years immediately preceding the commencement of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities within six years immediately preceding the commencement of this case.


                                LAST FOUR DIGITS
                                OF SOCIAL-SECURITY                                                                       BEGINNING
                                OR OTHER INDIVIDUAL                                                                      AND
                                TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
           NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES




 None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
          defined in 11 U.S.C. § 101.

           NAME                                      ADDRESS




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
 debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
 officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
 partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
 either full- or part-time.

            (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
 business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
 in business within those six years should go directly to the signature page.)


           19. Books, records and financial statements

 None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
          bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

           NAME AND ADDRESS                                                                       DATES SERVICES RENDERED




 None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
          case have audited the books of account and records, or prepared a financial statement of the debtor.

           NAME                                      ADDRESS                                      DATES SERVICES RENDERED
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                 Page:37 of 51
                                                                                                                           9



 None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
       books of account and records of the debtor. If any of the books of account and records are not available, explain.

        NAME                                                ADDRESS




 None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

        NAME AND ADDRESS                                                                   DATE ISSUED




        20. Inventories

 None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                             DOLLAR AMOUNT
                                                                                             OF INVENTORY
                                                                                             (Specify cost, market or other
        DATE OF INVENTORY                        INVENTORY SUPERVISOR                        basis)




 None   b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
        DATE OF INVENTORY                        OF INVENTORY RECORDS




        21. Current Partners, Officers, Directors and Shareholders

 None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
       partnership.

        NAME AND ADDRESS                           NATURE OF INTEREST                        PERCENTAGE OF INTEREST




 None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
       directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
        corporation.

                                                                                             NATURE AND PERCENTAGE
        NAME AND ADDRESS                           TITLE                                     OF STOCK OWNERSHIP
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                 Page:38 of 51
                                                                                                                           10



        22. Former partners, officers, directors and shareholders

 None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
       preceding the commencement of this case.

        NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




 None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
       within one year immediately preceding the commencement of this case.

        NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION




        23 . Withdrawals from a partnership or distributions by a corporation

 None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.


        NAME & ADDRESS                                                                        AMOUNT OF MONEY
        OF RECIPIENT,                               DATE AND PURPOSE                          OR DESCRIPTION
        RELATIONSHIP TO DEBTOR                      OF WITHDRAWAL                             AND VALUE OF PROPERTY




        24. Tax Consolidation Group.

 None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
        preceding the commencement of the case.

        NAME OF PARENT CORPORATION                                        TAXPAYER-IDENTIFICATION NUMBER (EIN)




        25. Pension Funds.

 None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
       which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
        preceding the commencement of the case.

        NAME OF PENSION FUND                                             TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                            ******


        I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                    Page:39 of 51
                                                                                                                                              11

       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date February 16, 2015                                                    of Debtor         s/Peggy S. Clements

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
Case:15-30042-SDB
B 8 (Official Form 8) (12/08)
                              Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                           Page:40 of 51



                      UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF GEORGIA
In re Peggy S. Clements                                                        Case No.
         Debtor                                                                Chapter 7

         CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 Capital City Bank                                         judgment
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain avoid judgment lien.

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 2
 Creditor's Name:                                          Describe Property Securing Debt:
 Chase Mortgage                                            home and lot located at 115 Ovid Drive, Dublin, Georgia (tax
                                                           value: $185,658; FMV: $140,000 - 2 houses for sale on block
                                                           listed for $180,000. New homes been for sale forever.
                                                           Debtor's home build in 1980s. Needs hot water heater. No
                                                           repairs since 1980s other than heating & air unit. Pool repair
                                                           will cost $10,000; cracks in the walls.) to be surrendered
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt
Case:15-30042-SDB
B 8 (Official Form 8) (12/08)
                              Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                 Page:41 of 51
                                                                                                      Page 2




 Property No. 3
 Creditor's Name:                                          Describe Property Securing Debt:
 FMC-Omaha Service Ctr                                     2013 Ford Edge
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 4
 Creditor's Name:                                          Describe Property Securing Debt:
 Wheeler County State Bank                                 personal property
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 5
 Creditor's Name:                                          Describe Property Securing Debt:
 CBA                                                       judgment
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain avoid judgment lien.

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt
Case:15-30042-SDB
B 8 (Official Form 8) (12/08)
                              Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                     Page:42 of 51
                                                                                                          Page 3



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                          Describe Leased Property:                Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: February 16, 2015                                            s/Peggy S. Clements
                                                                   Signature of Debtor




                                                                   Signature of Joint Debtor
         Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                          Page:43 of 51

 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 22A-1Supp:
 Debtor 1          Peggy S. Clements
                   __________________________________________________________________
                     First Name             Middle Name             Last Name
                                                                                                       
                                                                                                       X
                                                                                                           1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name
                                                                                                          2. The calculation to determine if a presumption of
                                       SOUTHERN DISTRICT OF GEORGIA                                           abuse applies will be made under Chapter 7 Means
 United States Bankruptcy Court for : ______________________
                                                                                (State)
                                                                                                              Test Calculation (Official Form 22A–2).
 Case number
  (If known)
                     ___________________________________________                                          3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 22A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have
primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under
§ 707(b)(2) (Official Form 22A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
    X Not married. Fill out Column A, lines 2-11.
          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
          Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                  are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
      case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
      amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
      include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
      one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A             Column B
                                                                                                       Debtor 1             Debtor 2 or
                                                                                                                            non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                                         2,474.46
                                                                                                        $_________            $__________
    payroll deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                   0.00
                                                                                                        $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
                                                                                                             0.00
                                                                                                        $_________            $__________

 5. Net income from operating a business, profession or farm
     Gross receipts (before all deductions)                               0.00
                                                                     $_________
     Ordinary and necessary operating expenses                            0.00
                                                                   – $_________
     Net monthly income from a business, profession, or farm              0.00
                                                                     $_________           Copy here         0.00
                                                                                                        $_________            $__________

 6. Net income from rental and other real property
    Gross receipts (before all deductions)                                0.00
                                                                     $_________
     Ordinary and necessary operating expenses                            0.00
                                                                   – $_________
     Net monthly income from rental or other real property                0.00
                                                                     $_________           Copy here         0.00
                                                                                                        $_________            $__________
 7. Interest, dividends, and royalties                                                                       0.00
                                                                                                        $_________            $__________

Official Form 22A-1                           Chapter 7 Statement of Your Current Monthly Income                                                       page 1
           Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                                            Page:44 of 51
Debtor 1              Peggy S. Clements
                      _______________________________________________________                                       Case number (if known)_____________________________________
                      First Name        Middle Name                 Last Name




                                                                                                                       Column A                Column B
                                                                                                                       Debtor 1                Debtor 2 or
                                                                                                                                               non-filing spouse
 8. Unemployment compensation                                                                                                  0.00
                                                                                                                         $__________             $_________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ........................... 
           For you .......................................................................         0.00
                                                                                             $______________
           For your spouse..........................................................         $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                     0.00
                                                                                                                         $__________             $__________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total on line 10c.
             prorated tax refund
        10a. _______________________________________                                                                        226.67
                                                                                                                         $_________              $__________
        10b. ______________________________________                                                                      $_________              $__________
        10c. Total amounts from separate pages, if any.                                                               +$_________
                                                                                                                             0.00              + $__________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                   2,701.13
                                                                                                                         $_________
                                                                                                                                           +     $__________
                                                                                                                                                                     =     2,701.13
                                                                                                                                                                         $__________
                                                                                                                                                                         Total current monthly
                                                                                                                                                                         income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.          Copy your total current monthly income from line 11..................................................................... Copy line 11 here12a.      2,701.13
                                                                                                                                                                     $__________

                   Multiply by 12 (the number of months in a year).                                                                                                  x 12
     12b.          The result is your annual income for this part of the form.                                                                              12b.        32,413.56
                                                                                                                                                                     $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                    Georgia
     Fill in the number of people in your household.
                                                                                             1
     Fill in the median family income for your state and size of household. .................................................................................13.      40,985.00
                                                                                                                                                                     $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?
     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               X

                      Go to Part 3.
     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                      Go to Part 3 and fill out Form 22A–2.

 Part 3:             Sign Below

                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                     s/Peggy S. Clements
                          ___________________________________________________                                   ______________________________________
                         Signature of Debtor 1                                                                   Signature of Debtor 2

                               02/16/2015
                         Date _________________                                                                  Date _________________
                              MM / DD / YYYY                                                                          MM / DD / YYYY

                    If you checked line 14a, do NOT fill out or file Form 22A–2.
                    If you checked line 14b, fill out Form 22A–2 and file it with this form.
¯¯¯¯¯

Official Form 22A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
Case:15-30042-SDB
 Þ îðí            Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                                             Page:45 of 51
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                              Ë²·¬»¼ Í¬¿¬»- Þ¿²µ®«°¬½§ Ý±«®¬
                                              SOUTHERN DISTRICT OF GEORGIA




 ×² ®»
           Peggy S. Clements
                                                                                          Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

 Ü»¾¬±®                                                                                   Ý¸¿°¬»® ÁÁÁÁÁÁÁÁÁ
                                                                                                  7


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Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02 Page:46 of 51
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       February 16, 2015
       ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                s/Angela McElroy-Magruder
                                                      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                    Ü¿¬»                                                 Angela McElroy-Magruder
                                                                            Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                              Claeys, McElroy-Magruder & Kitchens
                                                      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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FB 201A (Form 201A) (6/14)
       Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                        Page:47 of 51


                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
        Form B 201A, Notice toDoc#:1
       Case:15-30042-SDB       Consumer Debtor(s)
                                     Filed:02/16/15 Entered:02/16/15 08:59:02                            Pageof251
                                                                                                    Page:48
your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
B 201B (Form 201B) (12/09)
         Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                                         Page:49 of 51
                                UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF GEORGIA
                                ________________________________________




In re
        Peggy S. Clements
        ___________________________________                                         Case No. _______________
                   Debtor
                                                                                    Chapter ________________
                                                                                            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.



Peggy S. Clements
_________________________________________                                   s/Peggy S. Clements          February 16, 2015
                                                                          X______________________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                                s/                               February 16, 2015
                                                                          X______________________________________________
                                                                          Signature of Joint Debtor (if any)      Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02   Page:50 of 51
                                     Alisha Pickle
                                     115 Ovid Drive
                                     Dublin, GA 31021


                                     Capital City Bank
                                     c/o Rogers Law Offices
                                     The Equitable Building
                                     100 Peachtree Street, Ste 1950
                                     Atlanta, GA 30303

                                     CBA
                                     PO Box 579
                                     Milledgeville, GA 31059



                                     Chase Mortgage
                                     PO Box 24696
                                     Columbus, OH 43224



                                     FMC-Omaha Service Ctr
                                     PO Box 54200
                                     Omaha, NE 68154



                                     MR NEB, LLC
                                     5076 Winters Chapel Road
                                     Atlanta, GA 30360



                                     Souza Family Health & UCC
                                     PO Box 16100
                                     Dublin, GA 31040



                                     THD/CBNA
                                     PO Box 6497
                                     Sioux Falls, SD 57117



                                     Wheeler County State Bank
                                     PO Box 408
                                     Alamo, GA 30411
                    UNITED STATES BANKRUPTCY COURT
Case:15-30042-SDB Doc#:1 Filed:02/16/15 Entered:02/16/15 08:59:02                 Page:51 of 51
                     SOUTHERN DISTRICT OF GEORGIA
                               __________________


 In re:                                               Case No.

                                                      Chapter 7
 Peggy S. Clements


 Debtor(s).


              CERTIFICATION OF CREDITOR MAILING MATRIX
 The purpose of the Certification of Creditor Mailing Matrix form is to certify that the
 creditor information provided on the diskette (or by ECF submission) matches exactly
 the creditor information provided on the schedules. Accordingly, I hereby certify under
 penalty of perjury that the master mailing list of creditors submitted on computer diskette
 or electronically via the CM/ECF system is a true, correct and complete listing to the
 best of my knowledge and that the names and number of creditors provided on the
 diskette/ECF submission corresponds exactly to the creditor information listed on the
 schedules.

 I further acknowledge that (1) the accuracy and completeness in preparing the
 creditor listing are the shared responsibility of the debtor and the debtor’s attorney;
 (2) the court will rely on the creditor listing for all mailings; (3) the various
 schedules and statements required by the Bankruptcy Rules are not used for mailing
 purposes; and (4) that debtor, attorney and trustee information is not included on the
 diskette or electronic submission.

 The master mailing list of creditors is submitted via:
 G    computer diskette listing a total of              creditors which corresponds exactly
      to the schedules; or

 G
 X        electronic means (ECF) listing a total of       9       creditors which corresponds
          exactly to the schedules.

                                                      s/Peggy S. Clements
                                                      Debtor



                                                      Joint Debtor


                                                      s/Angela McElroy-Magruder
                                                      Attorney for Debtor(s)

 Date: February 16, 2015


 Revised: 10/05
